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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



YAN ZHAO et al.,

               Plaintiffs,

       v.                                             Civil Action No. 20-3138 (TJK)

KEQIANG LI et al.,

               Defendants.



                                  MEMORANDUM OPINION

       This suit is the latest attempt by a group of corporate entities and an investor to secure

ownership and control over a group of luxury hotels. After dismissing Plaintiffs’ claims against

three of the defendants, the Court ordered Plaintiffs to show cause why it should not sanction them

and their counsel for apparent litigation misconduct. Plaintiffs responded to that show-cause order

and then docketed several other filings, including two lis pendens notices about the underlying

properties. One of the three former defendants, AB Stable VIII LLC, now moves for relief from

the lis pendens notices. For the following reasons, the Court will grant AB Stable VIII’s motion,

and under its show-cause order the Court will dismiss this case and refer Plaintiffs’ attorney to the

Court’s Committee on Grievances.

I.     Background

       The Court assumes familiarity with the background of this case. See ECF No. 52 at 2–6.

As relevant here, Plaintiffs are an individual named Yan Zhao and four corporate entities (“Plain-

tiff Entities”) who basically claim to own several hotels in the United States, including one in

Washington, D.C. See ECF No. 1 ¶¶ 14, 16, 28–30, 78, 80–81, 94–95, 98–99, 103–04, 107–08;

see also ECF No. 10 at 2 (identifying the underlying properties). They allege that the Plaintiff
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Entities obtained these properties through a series of arbitration awards granted under an arbitra-

tion agreement formed under the Delaware Rapid Arbitration Act as part of a scheme to prevent

the Chinese government from confiscating those assets. See id. ¶¶ 28–37, 50, 249. When they

sought to enforce those awards in Delaware state court, however, they allege that Vice Chancellor

J. Travis Laster of the Delaware Court of Chancery, working with a company named AB Stable

VIII LLC and Delaware attorney Matthew Belger (who represented AB Stable VIII’s parent com-

pany) conspired with the Chinese government to illegally expropriate those properties by declaring

the arbitration agreement fraudulent and the arbitration awards invalid. See id. ¶¶ 51–55, 168–76,

181–213; see also World Award Found. Inc. v. Anbang Ins. Grp. Co., No. 2019-0605-JTL, 2020

WL 3799714, at *1–2 (Del. Ch. July 2, 2020); AB Stable VIII LLC v. MAPS Hotels & Resorts One

LLC, No. 2020-0310-JTL, 2020 WL 7024929, at *1–4, *6, *8–10, *12, *17, *21–26, *46 (Del.

Ch. Nov. 30, 2020), aff’d, 268 A.3d 198 (Del. 2021).

       In this Court, Plaintiffs then sued Vice Chancellor Laster, Belger, AB Stable VIII, several

Chinese government officials, and a Chinese government entity, asserting an array of claims

against them related to this alleged conspiracy and seeking nearly one trillion dollars in damages,

among other relief. See ECF No. 1. A few months later, Plaintiffs filed an “Ex Parte Petition for

Temporary Restraining Order” to prevent the sale of the underlying properties by AB Stable VIII,

which indirectly owns them. ECF No. 4; ECF No. 52 at 5 n.2. The Court denied that motion,

finding that Plaintiffs failed to meet their burden to obtain such relief in “several respects,” includ-

ing by failing to identify a particular legal claim on which they were likely to succeed, failing to

provide non-conclusory evidence to support their motion, and failing to show irreparable harm.

See Minute Order of January 12, 2021. The next day, Plaintiffs sought similar relief by filing an




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“Emergency Amended Motion for Appointment of Temporary Receivers/Trustees.” ECF No. 10.

The Court denied this motion for largely the same reasons. See Minute Order of August 27, 2021.

       Meanwhile, Vice Chancellor Laster, Belger, and AB Stable VIII each moved to dismiss on

“myriad grounds,” including lack of personal jurisdiction. ECF No. 52 at 6; see also ECF No. 24;

ECF No. 27; ECF No. 31. With those motions pending, Plaintiffs filed an “Emergency Motion

for Show Cause Hearing,” asking for “Judicial Intervention” under Federal Rule of Civil Procedure

24 to try yet again to obtain the relief they had sought in their prior two motions. See ECF No. 49.

The Court denied that motion as well, mainly because Rule 24, which governs third-party inter-

vention in a lawsuit, provided no basis for the relief they sought. See Minute Order of August 27,

2021. 1 The Court then granted the pending motions to dismiss and dismissed Vice Chancellor

Laster, Belger, and AB Stable VIII from the case. See ECF No. 51; ECF No. 52 at 6–12.

       Then the Court ordered Plaintiffs and their attorney Ning Ye, a member of the Bar of this

Court, to show cause why they should not be sanctioned for several apparent violations of Federal

Rule of Civil Procedure 11(b). ECF No. 56. They responded. ECF No. 59. They also filed a

“Rule 60” motion about the Court’s dismissal order as well as a recusal motion under 28 U.S.C.

§ 455. ECF No. 61; ECF No. 62. The Court denied both as meritless. See Minute Order of

September 30, 2022; ECF No. 80. Plaintiffs also docketed two lis pendens notices about the un-

derlying properties. See ECF No. 71; ECF No. 74. AB Stable VIII moves for relief from those

notices. See ECF No. 72; ECF No. 75; see also ECF No. 78; ECF No. 79. 2



1
 Plaintiffs later moved to strike parts of AB Stable VIII’s opposition to their “Rule 24” motion.
See ECF No. 53. The Court denied that motion because it was groundless under the legal standards
applicable to it. See Minute Order of September 10, 2021.
2
 After the Court’s show-cause order and AB Stable VIII’s motions ripened, Plaintiffs filed a notice
of appeal of the Court’s dismissal order, ECF No. 51; ECF No. 52; as well as of the Court’s orders



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II.    Legal Standards

       The Court “has the inherent authority to protect its integrity and prevent abuses of the ju-

dicial process.” Compton v. Alpha Kappa Alpha Sorority Inc., 938 F. Supp. 2d 103, 105–06

(D.D.C. 2013) (cleaned up). The Court’s use of this inherent authority is committed to its discre-

tion. See Shepherd v. Am. Broadcasting Cos., 62 F.3d 1469, 1475 (D.C. Cir. 1995). In addition,

under Rule 11, the Court on its own motion may “order an attorney . . . or party to show cause why

conduct specifically described in the order has not violated Rule 11(b).” Fed. R. Civ. P. 11(c)(3).

If the Court finds a violation, it may impose an “appropriate sanction” on the responsible attorney

or party. Id. The imposition of sanctions under Rule 11 is committed to the Court’s discretion.

1443 Chapin St., LP v. PNC Bank, Nat’l Ass’n, 718 F. Supp. 2d 78, 86 (D.D.C. 2010).

III.   Analysis

       A.      The Court Will Grant AB Stable VIII’s Motions for Relief from Plaintiffs’ Lis
               Pendens Notices Because, Through Them, Plaintiffs Are Abusing the Judicial
               Process

       After the Court dismissed AB Stable VIII from this case, Plaintiffs docketed two lis pen-

dens notices ostensibly under D.C. Code § 42-1207, which, in Plaintiffs’ telling, prohibit the sale




denying their Rule 60 motion and their recusal motion, ECF No. 80; Minute Order of September
30, 2022. See ECF No. 82. Ordinarily, the “filing of a notice of appeal . . . divests the district
court of its control over those aspects of the case involved in the appeal.” Griggs v. Provident
Consumer Disc. Co., 459 U.S. 56, 58 (1982) (per curiam). But assuming the Court’s show-cause
order and AB Stable VIII’s motions are “involved in the appeal,” this principle does not apply
when, as here, the notice of appeal seeks to appeal interlocutory, non-appealable orders. See
Griggs, 459 U.S. at 58 (citing Ruby v. Sec’y of U.S Navy, 365 F.2d 385, 389 (9th Cir. 1966) (en
banc)); United States v. DeFries, 129 F.3d 1293, 1302–03 (D.C. Cir. 1997) (citing United States
v. Green, 882 F.2d 999, 1001 (5th Cir. 1989)). In any event, neither the Court’s show-cause order
nor AB Stable VIII’s motions are “involved in the appeal” under Griggs. See Chamber of Com-
merce of U.S. v. SEC, 443 F.3d 890, 897 (D.C. Cir. 2006); Horn v. Hardart Co. v. Nat’l Rail
Passenger Corp., 843 F.2d 546, 548 (D.C. Cir. 1988). Thus, at this time the Court has jurisdiction
to resolve AB Stable VIII’s motions and the Court’s show-cause order.



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of any of the underlying properties without this Court’s permission and require any such sale to be

rescinded. See ECF No. 71 at 1; ECF No. 71-1 at 1–2; ECF No. 74 at 1; ECF No. 74-1 at 1–2.

Based on these notices, Ye has sent on Plaintiffs’ behalf at least one “Cease and Desist” letter to a

third party allegedly involved in selling some of the underlying properties to demand that they

“immediately pause, terminate, and revoke” the sale. See ECF No. 74-1 at 1–3 (letter to Goldman

Sachs Bank USA). AB Stable VIII moves to strike these notices, to order cancelled any lis pendens

notices already recorded, to enjoin Plaintiffs from recording any other lis pendens notices about

the underlying properties, and to sanction Plaintiffs and their counsel. ECF No. 72 at 1–2; ECF

No. 75 at 1–2. 3 For the following reasons, the Court will grant AB Stable VIII’s motion.

       The “doctrine of lis pendens” permits a plaintiff who wishes to enforce an interest in prop-

erty to which a defendant has title to give notice to third parties of the pendency of a civil action

involving or affecting the property. Sutton Invs. LLC v. Perlmutter, No. 21-cv-3226 (CJN), 2021

WL 6062635, at *1 (D.D.C. Dec. 22, 2021). The District of Columbia has regulated this practice

by statute. See id. (citing D.C. Code § 42-1207). Section 42-1207 imposes several requirements

for recording a valid lis pendens notice about real property in the District of Columbia. That said,

even a valid lis pendens notice does not prohibit a transaction on the subject property; the notice

simply alerts a prospective purchaser that any rights in the property that they acquire depend on

the outcome of litigation involving it. See Stevenson v. Estate of Massey, 746 F. Supp. 2d 127,

131–32 (D.D.C. 2010). Of course, the practical “effect” of a lis pendens notice often is to prevent




3
 AB Stable VIII has since sued Zhao and Ye in New York state court to have cancelled lis pendens
notices that they later recorded there. See ECF No. 78 at 2. That court ordered those notices
cancelled, enjoined Zhao and Ye from recording additional notices, and sanctioned them for their
“wholly frivolous” conduct. See ECF No. 79 at 1–3; ECF No. 79-5 at 13–14; ECF No. 79-6 at 2–
3; ECF No. 79-12 at 2–3; ECF No. 84 at 2; ECF No. 84-1 at 4–5.



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the sale of the property or lower its market value while the case is pending. Sutton Invs., 2021 WL

6062635, at *1 (quoting Pater v. City of Casper, 646 F.3d 1290, 1296 (10th Cir. 2011)). But the

notice does not “bar alienation” of the property. See Pater, 646 F.3d at 1296 n.1.

       Despite these settled principles—of which Plaintiffs are evidently aware, see ECF No. 73

at 7–8—Plaintiffs have misrepresented that their lis pendens notices dictate that sale of the under-

lying properties is prohibited without the Court’s prior approval. Further still, through Ye they

have sent harassing letters to third parties making the same misrepresentations. This is a transpar-

ent effort to obtain the relief that Plaintiffs tried and failed to obtain from this Court three times—

first through their motion for a temporary restraining order, then by way of their motion for the

appointment of a receiver, then via their “Rule 24” motion. See ECF No. 4; ECF No. 10; ECF No.

49; Minute Order of January 12, 2021; Minute Orders of August 27, 2021; see also ECF No. 73 at

7. Thus, the relief requested by AB Stable VIII is warranted.

       First, the Court will strike ECF No. 71 and ECF No. 74 from the docket. The Court has

the inherent authority to prevent abuses of the judicial process, which includes the power to strike

filings. See Compton, 938 F. Supp. 2d at 105–06; Phillips v. Mabus, 319 F.R.D. 36, 38 (D.D.C.

2016). Plaintiffs’ lis pendens notices plainly abuse the judicial process by misrepresenting their

effect. Thus, the Court will strike these notices from the docket.

       Second, the Court will order cancelled any lis pendens notices that Plaintiffs have already

recorded and that may currently be in effect about the underlying properties, and it will enjoin

them from recording any more without first obtaining leave of the Court. See, e.g., Sutton Invs.,

2021 WL 6062635, at *5. The Court’s inherent authority includes the “power to employ injunctive

remedies” against litigants “when needed to protect the integrity of the courts and the orderly and

expeditious administration of justice.” See Chien v. Freer, No. 18-cv-2050 (CKK), 2021 WL




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5507695, at *2 (D.D.C. Nov. 23, 2021) (internal quotation marks omitted). Usually, such remedies

involve restrictions on a litigant’s ability to file lawsuits, motions, or the like. E.g., id. at *2–3.

Even so, the “outer boundaries” of the Court’s inherent authority are not “precisely delineated,”

and the Court stays within those boundaries when it exercises this authority as “a reasonable re-

sponse to the problems and needs confronting the court’s fair administration of justice.” See Dietz

v. Bouldin, 579 U.S. 40, 45 (2016) (internal quotation marks omitted). The injunctive remedy the

Court will impose is a reasonable response to the problems and needs here. 4

         That said, before granting such relief the Court typically must ensure that Plaintiffs have

had notice and an opportunity to respond and must make substantive findings as to the frivolous

or harassing nature of Plaintiffs’ actions. See Chien, 2021 WL 5507695, at *2. Here, AB Stable

VIII’s motion gave Plaintiffs notice and an opportunity to respond, and Plaintiffs in fact did re-

spond. See id.; ECF No. 73. And the Court recounted above how Plaintiffs’ actions have been

both frivolous and harassing.

         Thus, the Court will order cancelled any lis pendens notices recorded by Plaintiffs that are

currently operative with respect to the underlying properties. And it will enjoin Plaintiffs from

recording any other lis pendens notices about those properties without first obtaining leave of this

Court.

         Third, the Court will sanction Plaintiffs and Ye by requiring them, jointly and severally, to

pay for AB Stable VIII’s attorneys’ fees and costs incurred in responding to ECF No. 71 and ECF




4
  The Court has statutory authority to order cancelled any of Plaintiffs’ already-recorded lis pen-
dens in the District of Columbia and impose sanctions for their “filing.” See D.C. Code § 42-
1207(d), (h). But the Court exercises its inherent authority here and elsewhere because that au-
thority “extends to [the] full range of litigation abuses” at issue. See Chambers v. NASCO, Inc.,
501 U.S. 32, 46, 50–51 (1991).



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No. 74. 5 The Court’s inherent authority “includes the ability to fashion an appropriate sanction

for conduct which abuses the judicial process,” and one such “permissible sanction” is an order

requiring the responsible parties to reimburse legal fees and costs incurred by other parties because

of the responsible parties’ sanctionable misconduct. See Goodyear Tire & Rubber Co. v. Haeger,

137 S. Ct. 1178, 1186 (2017) (internal quotation marks omitted). To impose this sanction, the

Court must find by clear and convincing evidence that the party being sanctioned “has acted in

bad faith, vexatiously, wantonly, or for oppressive reasons.” See Priority One Servs., Inc. v. W &

T Travel Servs., LLC, 987 F. Supp. 2d 1, 4–5, 7 (D.D.C. 2013) (internal quotation marks omitted).

For the reasons discussed above, the Court has no trouble finding as much here. See Robertson v.

Cartinhour, 883 F. Supp. 2d 121, 129 n.26 (D.D.C. 2012); Am. Hosp. Ass’n v. Sullivan, 938 F.2d

216, 219–20 (D.C. Cir. 1991). Thus, the Court will order Plaintiffs and Ye to pay AB Stable VIII’s

attorneys’ fees and costs incurred in responding to ECF No. 71 and ECF No. 74. 6

       B.      The Court Will Dismiss This Lawsuit and Refer Ye to the Court’s Committee
               on Grievances Because of Plaintiffs’ Litigation Misconduct

       Previously, the Court ordered Plaintiffs and Ye to show cause why it should not sanction

them for several apparent violations of Federal Rule of Civil Procedure 11. ECF No. 56. Specif-

ically, the Court found reason to believe that Ye, on Plaintiffs’ behalf, violated Rule 11(b) by

(1) submitting filings for an “improper purpose,” including to perpetrate a fraud and to harass;

(2) by making arguments that were legally frivolous; and (3) by making arguments that were



5
  The Court will confine the scope of the sanction to AB Stable VIII’s fees and costs incurred in
responding to ECF No. 71 and ECF No. 74 both because AB Stable VIII has obtained sanctions in
the New York litigation, see ECF No. 84-1 at 4–5, and because the Court must exercise its inherent
authority with “appropriate restraint.” See Shepherd, 62 F.3d at 1475.
6
 The Court will order AB Stable VIII to file a supplemental motion for attorneys’ fees and costs
by October 21, 2022.



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factually unsupportable. See id. at 3–6 (relying on Fed. R. Civ. P. 11(b)(1)–(3)). For the following

reasons, the Court now finds that Rule 11 sanctions are warranted against both Plaintiffs and Ye.

And given the record of litigation misconduct in this case, the Court will sanction Plaintiffs by

dismissing the case and will sanction Ye by referring him to the Court’s Committee on Grievances.

       Under Rule 11, when an attorney presents a “pleading, written motion, or other paper” to

the Court, counsel certifies to the best of her “knowledge, information, and belief, formed after an

inquiry reasonable under the circumstances,” that:

       (1) [the filing] is not being presented for any improper purpose, such as to harass,
       cause unnecessary delay, or needlessly increase the cost of litigation;
       (2) the claims, defenses, and other legal contentions are warranted by existing law
       or by a nonfrivolous argument for extending, modifying, or reversing existing law
       or for establishing new law;
       (3) the factual contentions have evidentiary support or, if specifically so identified,
       will likely have evidentiary support after a reasonable opportunity for further in-
       vestigation or discovery; and
       (4) the denials of factual contentions are warranted on the evidence or, if specifi-
       cally so identified, are reasonably based on belief or a lack of information.

Fed. R. Civ. P. 11(b). An “objective standard of reasonableness” determines “whether there has

been a violation” of Rule 11(b). Hourani v. Mirtchev, 796 F.3d 1, 17 (D.C. Cir. 2015); see also

5A Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 1335, nn.11–19 &

accompanying text, Westlaw (4th ed. updated May 2022).

       If, after affording “notice and a reasonable opportunity to respond,” the Court “determines

that Rule 11(b) has been violated,” it “may impose an appropriate sanction on any attorney, law

firm, or party that violated the rule or is responsible for the violation.” Fed. R. Civ. P. 11(c)(1);

see also Geller v. Randi, 40 F.3d 1300, 1304–05 (D.C. Cir. 1994); 5A Wright & Miller, supra

§ 1336.2. An “appropriate sanction” is one that is “limited to what suffices to deter repetition of

the conduct or comparable conduct by others similarly situated.” See Fed. R. Civ. P. 11(c)(4); see

also Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990). In fashioning an appropriate



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sanction, the Court has “broad discretion.” Hourani, 796 F.3d at 17. Proper considerations in

exercising that discretion include whether the violation was willful or negligent, whether it was

part of a pattern of activity, whether the person has engaged in similar conduct in other litigation,

and whether it was intended to injure. See id.; Fed. R. Civ. P. 11, advisory committee note to 1993

amendment. The Court may refer a party’s attorney to disciplinary authorities as a sanction. See

Fed. R. Civ. P. 11, Advisory Committee Note to 1993 Amendment; see also Carswell v. Air Line

Pilots Ass’n, Int’l, 248 F.R.D. 325, 330 (D.D.C. 2008); LCvR 83.16(d)(2). The Court may also

dismiss a case to penalize “serious misconduct when lesser sanctions would be ineffective.” Ma-

rina Mgmt. Servs., Inc. v. Vessel My Girls, 202 F.3d 315, 325–26 (D.C. Cir. 2000).

       First, the Court finds that Plaintiffs, through Ye, have violated Rule 11(b)(1) by submitting

filings for the improper purpose of harassing others and have violated Rule 11(b)(2) by advancing

frivolous legal contentions in their filings. As just one example, the Court pointed out in its show-

cause order that the series of emergency motions Plaintiffs filed that sought to prevent AB Stable

VIII from selling the underlying properties started out as meritless, grew increasingly so with each

passing motion, and demonstrated an intent to harass AB Stable VIII. See ECF No. 56 at 3–6. In

their response, Plaintiffs, through Ye, asserted that their actions were legally defensible and were

done in good faith. See, e.g., ECF No. 59 at 24–26, 29–30. But they provided no authority to

show or even suggest as much. And their repeated and ongoing misconduct, in this Court and

elsewhere, shows that they have acted vexatiously. See, e.g., Robertson, 883 F. Supp. 2d at 129

& n.26; see also Hourani, 796 F.3d at 17. Thus, the Court finds that Plaintiffs, through Ye, have

violated Rule 11(b)(1)–(2).

       Second, turning to the question of an appropriate sanction, the Court finds that a sanction

against Plaintiffs themselves is warranted. Again, under Rule 11 the Court may sanction any




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“party” who is “responsible for the violation.” See Fed. R. Civ. P. 11(c)(1). Here, Plaintiffs’

“litigious history” shows that they are responsible for the violation. See Geller, 40 F.3d at 1304.

After all, they were represented by different counsel in the Delaware proceedings when Vice Chan-

cellor Laster found that they were perpetrating a fraud in relation to the underlying properties. See

World Award Found. Inc. v. Anbang Ins. Grp. Co., No. 2019-0605-JTL, 2020 WL 1875461, at *1

(Del. Ch. Apr. 14, 2020); AB Stable VIII, 2020 WL 7024929, at *2–3. They then retained Ye to

sue in this Court to continue their pursuit of the underlying properties, and at their behest, Ye has

repeatedly filed baseless motions and taken other frivolous actions to interfere with AB Stable

VIII’s interest in the properties. See, e.g., ECF No. 4; Minute Order of January 12, 2021; ECF

No. 10; Minute Order of August 27, 2021; ECF No. 49; Minute Order of August 27, 2021; ECF

No. 71; ECF No. 74. And they have now expanded their pursuit of the properties into New York.

See ECF No. 78 at 2. Plaintiffs are the “catalyst” for the litigation misconduct in this case. See

Chevron, U.S.A., Inc. v. Hand, 763 F.2d 1184, 1187 (10th Cir. 1985). Thus, they are responsible

for the Rule 11 violations.

       As a sanction against them, the Court will dismiss this case with prejudice. “Dismissal is

a legitimate sanction under Rule 11 . . . for serious misconduct when lesser sanctions would be

ineffective or are unavailable.” Marina Mgmt. Servs., 202 F.3d at 325. The misconduct at issue

is no doubt serious—it is part of a pattern of harassing, frivolous conduct that is ongoing despite

several court orders trying to prevent it. See, e.g., World Award Found., 2020 WL 3799714, at *1;

ECF No. 79-6; ECF No. 84-1. And lesser sanctions would be ineffective. For instance, after the

Court issued its show-cause order based in part on Plaintiffs’ legally frivolous actions, they dou-

bled down, filing a meritless “Rule 60” motion and a conclusory motion for recusal. See ECF No.

61; ECF No. 62; ECF No. 80; Minute Order of September 30, 2022. If that were not enough, the




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Court also notes that, after Zhao and Ye defied an injunction recently imposed on them in New

York state court about lis pendens notices they recorded there and were sanctioned $7,500 for their

“wholly frivolous” conduct in doing so, they appealed the injunction and the sanctions as “uncon-

scionably” and “unprofessionally” issued. See ECF No. 84-1 at 4–5; ECF No. 84-2 at 1. Obvi-

ously, then, lesser sanctions are no deterrent for Plaintiffs’ serious misconduct. Thus, dismissal is

warranted.

         The Court also finds that a sanction against Ye is warranted. Under Rule 11, the Court

may “impose an appropriate sanction on any attorney . . . that violated the rule.” Fed. R. Civ.

P. 11(c)(1). As discussed above, Ye violated the rule in several ways in this case. Thus, a sanction

against him is appropriate.

         For an appropriate sanction, the Court will refer Ye to the Court’s Committee on Griev-

ances. Under Rule 11, the Court may refer an attorney to disciplinary authorities as a sanction.

See Fed. R. Civ. P. 11, advisory committee note to 1993 amendment; see also Carswell, 248 F.R.D.

at 330. And under Local Civil Rule 83.16(d)(2), the Court “may refer to the Committee [on Griev-

ances] the name of any attorney” subject to the Court’s Local Rules “on a Complaint that such

attorney has engaged in conduct which, if substantiated, would warrant the imposition of disci-

pline.” As a member of the Bar of this Court representing Plaintiffs in this case, Ye is subject to

the Court’s Local Rules. See, e.g., LCvR 1.1(a). And for the reasons set forth in this Memorandum

Opinion, the Court finds that he has engaged in conduct that the Committee on Grievances may

determine warrants imposing discipline. 7 Thus, the Court will refer Ye to the Committee on Griev-

ances.



7
 This case is far from the first instance in this Court in which Ye has submitted groundless filings
or committed other litigation-related misconduct. See, e.g., Ye Gon v. Lynch, No. 15-cv-1970



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IV.    Conclusion

       For all these reasons, the Court will grant AB Stable VIII’s motions; strike ECF No. 71

and ECF No. 74 from the docket; order cancelled any lis pendens notices that Plaintiffs have al-

ready recorded and that are still in effect about the underlying properties; enjoin Plaintiffs from

recording any other lis pendens notices about the underlying properties without first obtaining

leave of the Court to do so; order Plaintiffs and their counsel to pay AB Stable VIII’s attorneys’

fees and costs incurred in responding to ECF No. 71 and ECF No. 74; order AB Stable VIII to file

a supplemental motion for attorneys’ fees and costs by October 21, 2022; dismiss this case with

prejudice; and refer Ye to the Court’s Committee on Grievances. A separate order will issue.



                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge

Date: October 11, 2022




(JDB) (D.D.C. Apr. 7, 2016), ECF No. 14; Yu v. Napolitano, No. 10-cv-1074 (RBW) (D.D.C. July
1, 2010), ECF No. 2; Ye v. Holder, No. 9-cv-103 (ESH) (D.D.C. Aug. 13, 2009); ECF No. 25;
United States v. Ye, No. 8-cr-324 (RJL) (D.D.C. Dec. 1, 2009), ECF Nos. 166 & 167; In re: Ex-
tradition of Zhenly Ye Gon, No. 8-mc-596 (JMF) (GMH) (D.D.C. June 23, 2009), ECF No. 55;
United States v. Ye Gon, No. 7-cr-181 (EGS) (D.D.C. Dec. 23, 2008), Minute Order of December
23, 2008; Ye Gon v. Gonzalez, No. 7-cv-1308 (RWR) (D.D.C. Feb. 21, 2008), ECF No. 6.



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